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  4                        UNITED STATES DISTRICT COURT
  5                       CENTRAL DISTRICT OF CALIFORNIA
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  7    THRIVE NATURAL CARE, INC.,          Case No. 2:20-CV-9091-PA-AS
  8                   Plaintiff,           [PROPOSED] ORDER GRANTING
                                           PLAINTIFF’S MOTION FOR
  9          v.                            PARTIAL SUMMARY JUDGMENT
 10    THRIVE CAUSEMETICS, INC.,           Hon. Percy Anderson
 11                   Defendant.           Hearing Date: September 13, 2021
                                           Time: 1:30 p.m.
 12                                        Courtroom: 9A
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                                                                          [PROPOSED] ORDER
                                                                 Case No. 2:20-CV-09091-PA-AS
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  1         Plaintiff Thrive Natural Care, Inc. (“Thrive”) has moved for partial summary
  2   judgment of: (a) federal trademark infringement by Defendant Thrive Causemetics,
  3   Inc. (“TCI”); (b) federal unfair competition by TCI and related state law claims; (c)
  4   willful infringement; (d) disgorgement of TCI’s profits attributable to infringement;
  5   (e) corrective advertising damages; and (f) a permanent injunction. The motion
  6   came on for consideration before the Court on September 13, 2021, at 1:30 p.m.
  7   Appearances by counsel are noted in the record.
  8         After considering the moving, opposition, and reply briefs, the evidence
  9   submitted by the parties, and the arguments presented by the parties’ respective
 10   counsel, the Court finds as follows:
 11         1.     Thrive has used the mark “THRIVE” (the “THRIVE Mark”) on
 12   skincare products continuously from 2013 to the present. All of Thrive’s skincare
 13   products bear the THRIVE Mark (the “Thrive Products”).
 14         2.     Thrive is the registrant of and holds valid U.S. trademark registrations,
 15   Reg. Nos. 4,467,942 (“’942 Registration”) and 6,164,303 (“’303 Registration”), for
 16   the THRIVE Mark in relation to various skincare products (together, the “THRIVE
 17   Registrations”).
 18         3.     Thrive’s ’942 Registration has been deemed incontestable by the U.S.
 19   Patent & Trademark Office (“PTO”).
 20         4.     The ’942 Registration constitutes conclusive evidence that Thrive is
 21   the owner of the THRIVE Mark and has the exclusive right to use that mark in
 22   commerce.
 23         5.     Defendant TCI was founded in 2014 and began selling false eyelashes
 24   and eyelash adhesive in or about September 2014, under the THRIVE
 25   CAUSEMETICS brand.
 26         6.     TCI has known of Thrive’s ’942 Registration since 2015, when TCI
 27   received a trademark clearance search report identifying the ’942 Registration as a
 28   potential conflict with TCI’s THRIVE CAUSEMETICS mark.
                                                                               [PROPOSED] ORDER
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  1         7.     On November 30, 2015, the PTO issued an Office Action rejecting a
  2   trademark application by TCI to register the THRIVE CAUSEMETICS mark due
  3   in part to finding there was a likelihood of confusion with Thrive’s ’942
  4   Registration for the THRIVE Mark. TCI argued in response to this Office Action
  5   that TCI and Thrive sold different classes of goods (color cosmetics versus skincare
  6   products). In response to TCI’s arguments, the PTO withdrew its refusal based on
  7   Thrive’s trademark registration.
  8         8.     As early as January 2016, TCI’s founder, Karissa Bodnar,
  9   demonstrated an intent for TCI to expand from color cosmetics into the skincare
 10   product market by late 2017.
 11         9.     Ms. Bodnar contacted Thrive in April 2016 to request permission to
 12   use the THRIVE Mark for TCI’s business, which at the time consisted of false
 13   eyelashes and color cosmetics. She did not disclose her intent to expand into
 14   skincare. Thrive’s co-founder, Alex McIntosh, denied the request for permission.
 15         10.    In March 2017, Thrive sent a cease-and-desist letter to TCI requesting
 16   that TCI cease use of the THRIVE Mark in relation to TCI’s business. TCI rejected
 17   the request, claiming the parties sold different classes of goods (TCI selling color
 18   cosmetics, Thrive selling skincare products).
 19         11.    On August 28, 2018, the PTO issued an Office Action rejecting a
 20   second trademark application by TCI to register the THRIVE CAUSEMETICS
 21   mark due to finding there was a likelihood of confusion with Thrive’s ’942
 22   Registration for the THRIVE Mark and Thrive’s then-pending application that
 23   matured as the ’303 Registration. The PTO further required that TCI file a
 24   disclaimer of the “CAUSEMETICS” portion of its mark, because that word was
 25   merely descriptive as an intentional misspelling of “cosmetics”.
 26         12.    In or about October 2018—after the PTO’s refusal of TCI’s second
 27   trademark application and with knowledge of Thrive’s ’942 Registration and use of
 28   the THRIVE Mark on skincare products—TCI expanded from color cosmetics into
                                                                               [PROPOSED] ORDER
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  1   the skincare market and began selling skincare products under the THRIVE
  2   CAUSEMETICS brand in direct competition with Thrive.
  3         13.    In June 2019, Ms. Bodnar of TCI again contacted Thrive and spoke
  4   with Mr. McIntosh to request permission to use the THRIVE Mark in relation to
  5   TCI’s business. Ms. Bodnar again did not disclose that TCI was already selling
  6   skincare products. Mr. McIntosh denied Ms. Bodnar’s request for permission unless
  7   TCI agreed to pay a significant licensing fee and to modify TCI’s mark to de-
  8   emphasize the “THRIVE” portion of the mark.
  9         14.    TCI disregarded Thrive’s preexisting trademark rights and continued
 10   to expand its line of skincare products, which TCI sold under the THRIVE
 11   CAUSEMETICS brand (the “Infringing Skincare Products”).
 12         15.    The Infringing Skincare Products consists of TCI’s entire skincare
 13   line, including the following products: Overnight Sensation Brightening Sleep
 14   Mask; Liquid Balm Lip Treatment; Gravity Defying Transforming Moisturizer;
 15   Bright Balance 3-in-1 Cleanser; Defying Gravity Eye Lifting Cream; Liquid Light
 16   Therapy All-in-One Face Serum; Moisture Flash Active Nutrient Toner; Deluxe
 17   Travel Defying Gravity Transforming Moisturizer; Defying Gravity Transforming
 18   Moisturizer; Deluxe Travel Bright Balance 3-in-1 Cleanser; Moisture-Enriched
 19   Hand Sanitizer; Overnight Sensation Gentle Resurfacing Peel; Pumpkin Spice Latte
 20   Liquid Lip Balm Treatment; Smart Microdermabrasion 2-in-1 Instant Facial;
 21   Defying Gravity Nourishing Hand + Nail Cream; Smart Microdermabrasion 2-in-1
 22   Instant Facial; Buildable Blur CC Cream; Filtered Effects Blurring Primer; all
 23   travel sized versions of these products; and all “sets” that include any of these
 24   products as part of the set.
 25         16.    The Infringing Skincare Products include at least the following TCI
 26   SKU numbers: TCC001-TCC019; TP001; TSC002; TSC003; TSC004; TSC005;
 27   TSC006; TSC007; TSC008; TSS002; TSS003; TSS004; TVG007; TVG070;
 28   TVG133; TVG134; TVG136; TVG137; TVG138; TVG141; TVG142.
                                                                                [PROPOSED] ORDER
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  1         17.    TCI’s use of the THRIVE Mark has caused actual confusion between
  2   TCI and Thrive and the products of each party.
  3         18.    TCI is infringing Thrive’s trademark rights, including through the
  4   marketing and sale of the Infringing Skincare Products, which are confusingly and
  5   substantially similar to the valid and protectable THRIVE Registrations, which
  6   Thrive uses in connection with its Thrive Products. Thrive has demonstrated that,
  7   due to the similarity between elements of the marks and packaging for the
  8   Infringing Skincare Products and the THRIVE Marks, consumers will believe that
  9   the Infringing Skincare Products come from, are sponsored or licensed by, or are
 10   associated or affiliated with Thrive, or that the Thrive Products come from, are
 11   sponsored or licensed by, or are associated or affiliated with TCI.
 12         19.    There is no genuine dispute as to any material fact concerning
 13   infringement of the THRIVE Registrations by TCI in relation to TCI’s sale of
 14   Infringing Skincare Products using the THRIVE Mark. Thrive is entitled to
 15   summary judgment that TCI infringed the THRIVE Registrations in violation of 15
 16   U.S.C. § 1114. Thrive is further entitled to summary judgment on its unfair
 17   competition claim under 15 U.S.C. § 1125(a) and its related state law claims, which
 18   all rely on the same analysis.
 19         20.    Thrive is entitled to summary judgment on the issue of whether TCI’s
 20   infringement was willful. In 2018, TCI expanded into the skincare market in direct
 21   competition with Thrive after: (a) TCI received, in 2015, a trademark clearance
 22   search report identifying Thrive’s trademark registration as a potential conflict with
 23   TCI’s THRIVE CAUSEMETICS brand; (b) TCI received two PTO refusals
 24   identifying Thrive’s trademark registrations as creating a likelihood of confusion;
 25   (c) Thrive refused in 2016 to grant TCI permission to use the THRIVE Mark; and
 26   (d) Thrive sent TCI a cease-and-desist letter in 2017. TCI’s decision to sell the
 27   Infringing Skincare Products was made with knowledge of Thrive and its skincare
 28   products, the THRIVE Mark, and the THRIVE Registrations. Those facts are
                                                                               [PROPOSED] ORDER
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  1   undisputed. There is thus no genuine dispute of material fact with regard to willful
  2   infringement.
  3         21.    Thrive is entitled to summary judgment with regard to disgorgement of
  4   TCI’s profits, pursuant to 15 U.S.C. § 1117(a), in the amount of $21,524,380.
  5   Thrive has satisfied its burden of proving TCI’s total profits on sales of Infringing
  6   Skincare Products, consisting of gross revenue minus cost of goods. TCI has failed
  7   to satisfy its burden of proving any additional claimed indirect costs were of actual
  8   assistance in the production, distribution, or sale of the infringing product.
  9         22.    Thrive is entitled to summary judgment on the issue of corrective
 10   advertising damages, and is entitled to an award of such damages in the amount of
 11   $5,796,527, constituting 25% of TCI’s advertising budget for the Infringing
 12   Skincare Products.
 13         23.    Having demonstrated infringement, the Court presumes pursuant to the
 14   Lanham Act, as amended by the Trademark Modernization Act, that Thrive has
 15   suffered and will continue to suffer irreparable harm from TCI’s actions. TCI has
 16   not rebutted that presumption, which leads the Court to find irreparable harm exists
 17   and would continue to occur without issuance of a permanent injunction.
 18         24.    In addition, Thrive has submitted evidence showing that it is likely to
 19   suffer irreparable injury as a result of TCI’s conduct because the Infringing
 20   Skincare Products are likely to confuse consumers; are targeted at the same
 21   consumers; and are likely to interfere with Thrive’s substantial efforts and exclusive
 22   rights to control its trademarks, brand reputation and goodwill, including but not
 23   limited to the channels in which the Thrive Products are marketed and sold, and the
 24   price points at which it sells the Thrive Products. Thrive is therefore entitled a
 25   permanent injunction barring TCI from selling the Infringing Skincare Products and
 26   from using the THRIVE CAUSEMETICS mark or any other mark that is similar to
 27   the THRIVE Mark in relation to skincare products.
 28         On the basis of the foregoing findings of fact and conclusions of law, it is
                                                                                [PROPOSED] ORDER
                                                                       Case No. 2:20-CV-09091-PA-AS
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  1   hereby ORDERED and ADJUDGED that:
  2         1.      Plaintiff Thrive’s Motion for Partial Summary Judgment is
  3   GRANTED.
  4         2.      The THRIVE Registrations are valid and infringed by TCI’s sale,
  5   offering for sale, and distributing the Infringing Skincare Products.
  6         3.      TCI’s sale, offering for sale, and distributing the Infringing Skincare
  7   Products further violates 15 U.S.C. § 1125(a), Thrive’s common law rights, and
  8   Cal. Bus. & Prof. Code § 17200.
  9         4.      TCI’s trademark infringement was willful.
 10         5.      Thrive is awarded TCI’s total profits on infringing sales pursuant to 15
 11   U.S.C. § 1117, in the amount of $21,524,380.
 12         6.      Thrive is awarded corrective advertising damages in the amount of
 13   $5,796,527.
 14         7.      TCI and all of its agents, officers, employees, representatives,
 15   successors, assigns, attorneys, and all other persons acting for, with, by, through, or
 16   under authority from TCI, or in concert or participation with TCI, shall be
 17   permanently enjoined from advertising, displaying, selling, or distributing:
 18                 a.    Any skincare or personal care products bearing the “THRIVE”
 19                       or “THRIVE CAUSEMETICS” mark or name, including but not
 20                       limited to all Infringing Skincare Products.
 21                 b.    Any product bearing a trademark or symbol that is confusingly
 22                       similar to Thrive’s trademark, Registration No. 4,467,942, for
 23                       the mark THRIVE in standard characters, provided said product
 24                       falls within a category of goods listed in this registration.
 25                 c.    Any product bearing a trademark or symbol that is confusingly
 26                       similar to Thrive’s trademark, Registration No. 6,164,303, for
 27                       the mark THRIVE in standard characters, provided said product
 28                       falls within a category of goods listed in this registration.
                                                                                  [PROPOSED] ORDER
                                                                         Case No. 2:20-CV-09091-PA-AS
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  1         8.     TCI and all of its agents, officers, employees, representatives,
  2   successors, assigns, attorneys, and all other persons acting for, with, by, through, or
  3   under authority from TCI, or in concert or participation with TCI, shall be and
  4   hereby are, effective immediately, ordered to:
  5                a.     Recall and sequester all existing Infringing Skincare Products.
  6                b.     Provide to Thrive and its counsel of record within 30 days of
  7                       entry of this Order an accounting of all Infringing Skincare
  8                       Products manufactured, sold, and sequestered in inventory.
  9                c.     Post a notice on TCI’s website homepage at
 10                       www.thrivecausemetics.com and on TCI’s Facebook and
 11                       Instagram pages stating as follows:
 12         Thrive Causemetics, Inc. the manufacturer of “THRIVE
            CAUSEMETICS” skincare products has been required the United
 13         States District Court for the Central District of California to post this
            notice in order to avoid further confusion in the marketplace.
 14         “THRIVE CAUSEMETICS” skincare products formerly sold through
            this website and Thrive Causemetics have no affiliation, and have
 15         never had any affiliation, with “THRIVE” skincare products made and
            sold by Thrive Natural Care, Inc. The Court has ordered that Thrive
 16         Causemetics can no longer sell “THRIVE CAUSEMETICS” skincare
            products in order to avoid confusion between those products and
 17         “THRIVE” skincare products sold by Thrive Natural Care.
 18

 19                d.     File with this Court and serve on Thrive within 30 days a report
 20                       in writing under oath, setting forth in detail the manner and form
 21                       in which TCI has complied with the above injunction.
 22         9.     Violation of this Permanent Injunction shall expose TCI and all other
 23   persons bound by this Injunction to all applicable penalties, including contempt of
 24   Court. The foregoing permanent injunction shall be in full force and effect until
 25   such time as this Court enters a further Order lifting or modifying the injunction
 26   granted hereby.
 27   ///
 28   ///
                                                                                [PROPOSED] ORDER
                                                                       Case No. 2:20-CV-09091-PA-AS
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  1   IT IS SO ORDERED.
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  3   Date: _________________________          ______________________________
  4                                            Hon. Percy Anderson
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                                                                        [PROPOSED] ORDER
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